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Attorneys for Plaintiffs

                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY



                                          CIV. ACTION NO. 12-5495
 ELIZABETH FRISARI, Individually
 and on Behalf of All Others Similarly
 Situated,                                        NOTICE OF MOTION

                    Plaintiffs,

       v.

 DISH NETWORK, LLC,

       Defendant.


      TO: Jeffrey F. Klamut, Esq
          Christian Antkowiak, Esq.
          Buchanan Ingersoll & Rooney PC
          One Oxford Centre, 20th Floor
          Pittsburgh, PA 15219-1410

COUNSEL:

      PLEASE TAKE NOTICE that on November 28, 2016, or as soon

thereafter as counsel may be heard, the undersigned attorneys for Plaintiff
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Elizabeth Frisari, individually and on behalf of all others similarly situated, will

move before the United States District Court for the District of New Jersey, by way

of motion, seeking (1) to confirm an arbitration award pursuant to the Federal

Arbitration Act, 9 U.S.C. § 9; and (2) for entry of Judgment confirming the Award.

      PLEASE TAKE FURTHER NOTICE that in support of this motion,

Plaintiffs shall rely upon the enclosed brief and the Certification of Jonathan I.

Nirenberg.

      PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

submitted herewith.

                                               Rabner Baumgart Ben-Asher
                                               & Nirenberg, P.C.
                                               Attorneys for Plaintiff

Dated: November 10, 2016                   By:   /s Jonathan I. Nirenberg
                                                  Jonathan I. Nirenberg




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